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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

  Kathleen Boco, individually and on behalf of all others
  similarly situated;                                                                      0:19cv60088
                                                                       Civil Action No: ____________
                                           Plaintiff,
                                                                        CLASS ACTION COMPLAINT

                                                                         DEMAND FOR JURY TRIAL




         -v.-
  Portfolio Recovery Associates, LLC and
  John Does 1-25

                                       Defendant.


 Plaintiff Kathleen Boco (hereinafter, “Plaintiff” or “Boco”), a Florida resident, brings this Class

 Action Complaint by and through her attorneys, Zeig Law Firm, LLC against Defendant Portfolio

 Recovery Associates, LLC (hereinafter “Defendant”) individually and on behalf of a class of all

 others similarly situated, pursuant to Rule 23 of the Federal Rules of Civil Procedure, based upon

 information and belief of Plaintiff’s counsel, except for allegations specifically pertaining to

 Plaintiff, which are based upon Plaintiff's personal knowledge.



                       INTRODUCTION/PRELIMINARY STATEMENT

        1.      Congress enacted the Fair Debt Collection Practices Act (hereinafter “the FDCPA”)

    in 1977 in response to the "abundant evidence of the use of abusive, deceptive, and unfair debt

    collection practices by many debt collectors." 15 U.S.C. §1692(a). At that time, Congress was

    concerned that "abusive debt collection practices contribute to the number of personal


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    bankruptcies, to material instability, to the loss of jobs, and to invasions of individual privacy."

    Id. Congress concluded that "existing laws…[we]re inadequate to protect consumers," and that

    "'the effective collection of debts" does not require "misrepresentation or other abusive debt

    collection practices." 15 U.S.C. §§ 1692(b) & (c).

       2.      Congress explained that the purpose of the Act was not only to eliminate abusive

    debt collection practices, but also to "insure that those debt collectors who refrain from using

    abusive debt collection practices are not competitively disadvantaged." Id. § 1692(e). “After

    determining that the existing consumer protection laws ·were inadequate.” Id. § l692(b),

    Congress gave consumers a private cause of action against debt collectors who fail to comply

    with the Act. Id. § 1692k.

                                    JURISDICTION AND VENUE

       3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and

    15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over the State law claims in this

    action pursuant to 28 U.S.C. § 1367(a).

       4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2), as this is

    where a substantial part of the events or omissions giving rise to the claim occurred.

                                       NATURE OF THE ACTION

       5.      Plaintiff brings this class action on behalf of a class of Florida consumers under

    §1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt

    Collections Practices Act ("FDCPA"), and

       6.      Plaintiff is seeking damages and declaratory relief.

                                                PARTIES
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       7.      Plaintiff is a resident of the State of Florida, County of Broward, residing at 1400

    NW 54th Ave., Lauderhill, FL 33313.

       8.      Defendant Portfolio Recovery Associates, LLC is a "debt collector" as the phrase is

    defined in 15 U.S.C. § 1692(a)(6) and used in the FDCPA with an address at 3111 120 Corporate

    Blvd, Suite 100, Norfolk, VA 23502 and may be served with process upon the Corporation

    Service Company, its registered agent for service of process at Corporation Service Company,

    1201 Hays St., Tallahassee, FL 33201.

       9.      Upon information and belief, Defendant Portfolio is a company that uses the mail,

    telephone, and facsimile and regularly engages in business the principal purpose of which is to

    attempt to collect debts alleged to be due another.

       10.     John Does l-25, are fictitious names of individuals and businesses alleged for the

    purpose of substituting names of Defendants whose identities will be disclosed in discovery and

    should be made parties to this action.

                                        CLASS ALLEGATIONS
       11.     Plaintiff brings this claim on behalf of the following case, pursuant to Fed. R. Civ.

    P. 23(a) and 23(b)(3).

       12.     The Class consists of:

               a. all individuals with addresses in the State of Florida;

               b. to whom Defendant Portfolio sent a collection letter attempting to collect a

                   consumer debt;

               c. using language implying that the Defendant has voluntarily chosen to no longer

                   file a suit;

               d. which letter was sent on or after a date one (1) year prior to the filing of this

                   action and on or before a date twenty-one (2l) days after the filing of this action.
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       13.      The identities of all class members are readily ascertainable from the records of

    Defendants and those companies and entities on whose behalf they attempt to collect and/or

    have purchased debts.

       14.      Excluded from the Plaintiff Class are the Defendants and all officer, members,

    partners, managers, directors and employees of the Defendants and their respective immediate

    families, and legal counsel for all parties to this action, and all members of their immediate

    families.

       15.      There are questions of law and fact common to the Plaintiff Class, which common

    issues predominate over any issues involving only individual class members. The principal issue

    is whether the Defendants' written communications to consumers, in the forms attached as

    Exhibit A, violate 15 U.S.C. §§ l692e.

       16.      The Plaintiff’s claims are typical of the class members, as all are based upon the same

    facts and legal theories. The Plaintiff will fairly and adequately protect the interests of the

    Plaintiff Class defined in this complaint. The Plaintiff has retained counsel with experience in

    handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff

    nor her attorneys have any interests, which might cause them not to vigorously pursue this

    action.

       17.      This action has been brought, and may properly be maintained, as a class action

    pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

    well-defined community interest in the litigation:

                a. Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

                   that the Plaintiff Class defined above is so numerous that joinder of all members

                   would be impractical.
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              b. Common Questions Predominate: Common questions of law and fact exist as

                  to all members of the Plaintiff Class and those questions predominance over any

                  questions or issues involving only individual class members. The principal issue

                  is \whether the Defendants' written communications to consumers, in the forms

                  attached as Exhibit A violate 15 USC §l692e.

              c. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

                  The Plaintiff and all members of the Plaintiff Class have claims arising out of the

                  Defendants' common uniform course of conduct complained of herein.

              d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the

                  class members insofar as Plaintiff has no interests that are adverse to the absent

                  class members. The Plaintiff is committed to vigorously litigating this matter.

                  Plaintiff has also retained counsel experienced in handling consumer lawsuits,

                  complex legal issues, and class actions. Neither the Plaintiff nor her counsel have

                  any interests which might cause them not to vigorously pursue the instant class

                  action lawsuit.

              e. Superiority: A class action is superior to the other available means for the fair

                  and efficient adjudication of this controversy because individual joinder of all

                  members would be impracticable. Class action treatment will permit a large

                  number of similarly situated persons to prosecute their common claims in a single

                  forum efficiently and without unnecessary duplication of effort and expense that

                  individual actions would engender.

       18.    Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

    is also appropriate in that the questions of law and fact common to members of the Plaintiff
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    Class predominate over any questions affecting an individual member, and a class action is

    superior to other available methods for the fair and efficient adjudication of the controversy.

       19.      Depending on the outcome of further investigation and discovery, Plaintiff may, at

    the time of class certification motion, seek to certify a class(es) only as to particular issues

    pursuant to Fed. R. Civ. P. 23(c)(4).


                                       FACTUAL ALLEGATIONS

       20.      Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

    numbered above herein with the same force and effect as if the same were set forth at length

    herein.

       21.      Some time prior to February 1, 2018 an obligation was allegedly incurred to Capital

    One Bank, NA.

       22.      The Capital One Bank, NA obligation arose out of transactions in which money,

    property, insurance or services, which are the subject of the transaction, were primarily for

    personal, family or household purposes.

       23.      The alleged Capital One Bank, NA obligation is a "debt" as defined by 15 U.S.C.§

    1692a(5).

       24.      Defendant Portfolio purportedly purchased the alleged debt.

       25.      Defendant collects and attempts to collect debts incurred or alleged to have been

    incurred for personal, family or household purposes on behalf of creditors using the United

    States Postal Services, telephone and internet.
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                               Violation - February 1, 2018 Collection Letter

       26.     On or about February 1, 2018, Defendant sent Plaintiff an initial collection letter (the

    “Letter”) regarding the alleged debt owed to Defendant. See Exhibit A.

       27.     The letter states in part: “The law limits how long you can be sued on a debt and how

    long a debt can appear on your credit report. Due to the age of this debt, we will not sue you for

    it or report payment or non-payment of it to a credit bureau.”

       28.      The letter’s language of “we will not sue” implies that the Defendant has chosen to

    not sue, rather than the true statement that this Defendant or any subsequent creditor is currently

    barred by law from filing a suit.

       29.     The letter could mislead the Plaintiff to assume that the time-barred debt is legally

    enforceable and is within the Defendant’s discretion whether or not to sue, and more so that

    another collector could in fact choose to sue the Plaintiff.

       30.     As a result of Defendants’ deceptive, misleading and unfair debt collection practices,

    Plaintiff has been damaged.


                               COUNT I
  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e
                                 et seq.

       31.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

    above herein with the same force and effect as if the same were set forth at length herein.

       32.     Defendants’ debt collection efforts attempted and/or directed towards the Plaintiff

    violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

       33.     Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

    misleading representation or means in connection with the collection of any debt.

       34.     Defendants violated said section
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               a.      by creating a false and misleading representation of the legal status of the

       debt in violation of §1692e(10); and

               b.      by falsely representing the character, amount or legal status of the debt in

       violation of §1692e(2)(A);

       35.     By reason thereof, Defendants are liable to Plaintiff for judgment that Defendants’

    conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs

    and attorneys’ fees.


                                COUNT II
       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C.
       §1692f et seq.

       36.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

    above herein with the same force and effect as if the same were set forth at length herein.

       37.     Defendants’ debt collection efforts attempted and/or directed towards the Plaintiff

    violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692f.

       38.     Pursuant to 15 U.S.C. §1692f, a debt collector may not use any unfair or

    unconscionable means in connection with the collection of any debt.

       39.     Defendants violated this section by omitting material information that gave Plaintiff

    a false understanding of the proper legal status of the debt and the ramifications of specific

    actions.

       40.     By reason thereof, Defendants are liable to Plaintiff for judgment that Defendants’

    conduct violated Section 1692f et seq. of the FDCPA, actual damages, statutory damages, costs

    and attorneys’ fees.
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                                  DEMAND FOR TRIAL BY JURY

        41.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

    a trial by jury on all issues so triable.

                                          PRAYER FOR RELIEF

 WHEREFORE, Plaintiff Kathleen Boco, individually and on behalf of all others similarly

 situated, demands judgment from Defendant Portfolio Recovery Associates LLC, as follows:


        1.      Declaring that this action is properly maintainable as a Class Action and certifying

    Plaintiff as Class representative, and Justin Zeig, Esq. as Class Counsel;

        2.      Awarding Plaintiff and the Class statutory damages;

        3.      Awarding Plaintiff and the Class actual damages;

        4.      Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

    expenses;

        5.      Awarding pre-judgment interest and post-judgment interest; and

        6.      Awarding Plaintiff and the Class such other and further relief as this Court may deem

    just and proper.



        Dated: January 9, 2019                                        Respectfully Submitted,

                                                              ZEIG LAW FIRM, LLC

                                                              /s/ Justin Zeig
                                                              Justin Zeig, Esq.
                                                              FL Bar No. 112306
                                                              3475 Sheridan Street, Suite 310
                                                              Hollywood, FL 33021
                                                              Telephone: 754-217-3084
                                                              Fax: 954-272-7807
                                                              justin@zeiglawfirm.com
                                                              Attorneys for Plaintiff
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